Case 1:03-cr-10055-.]DT Document 27 Filed 09/01/05 Page 1 of 2 Page|D 30

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

    

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UNITED STATES oF AMERICA f?s,,;;£;/f>//Q@I,~£@
‘ ‘)@/ CQ/ .
.'g. `) /
-vs_ ease No. 1;03¢r100§1i001r

ANITA MOODY CLAYTON

 

ORDER OF DETENT|ON PENDING TRIAL
F|ND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
ofrelease and a detention hearing may be filed at a later date.

DlRECTlONS REGARD|NG DETENT|ON

ANITA CLAYTON is committed to the custody ofthe Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. AN]TA CLAYTON shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the

govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

/___,_____
Date: August 30, 2005 cg /éM`Y'-' 542

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thfe document entered on the docket sheet ln compliance
with mile ss and;or 32(1>) rach on ) ' t ' '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:03-CR-10055 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

